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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


CHRISTY DORR,                              )
                                           )
              Plaintiff,                   )
                                           )
v.                                         ) Civil no. 1:15-cv-00092-JCN
                                           )
WOODLANDS SENIOR LIVING OF                 )
BREWER, LLC.,                              )
                                           )
            Defendant.                     )

                                      JUDGMENT

       This matter came on for trial before the Court and a jury, Honorable John C. Nivison

presiding, and the issues having been duly tried and the jury having rendered its verdict on

December 15, 2016; and in accordance with the Order Affirming the Recommended Decision of

the Magistrate Judge on Defendant’s Motion for Summary Judgment entered on August 10,

2016; and the Decision and Order on Plaintiff’s Motion for Supplemental Relief entered May

10, 2017;

       JUDGMENT is hereby entered for the Plaintiff Christy Dorr and against the Defendant

Woodlands Senior Living of Brewer LLC on Plaintiff’s discrimination claim in the amount of

$1.00 (one dollar) nominal damages;

       JUDGMENT is hereby entered for the Plaintiff Christy Dorr and against the Defendant

Woodlands Senior Living of Brewer LLC on Plaintiff’s family medical leave act claim in the

amount of $15,000.00 (fifteen thousand) in back pay damages, and $15,000.00 (fifteen

thousand) in liquidated damages together with interest and costs;

       Defendant Woodlands Senior Living of Brewer LLC to modify Plaintiff Christy Dorr’s

personnel records to reflect that the jury determined she did not abandon her job, and that her

employment was wrongfully terminate;
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       Defendant Woodlands Senior Living of Brewer LLC to document all training provided to

its supervisors regarding the law and Defendant’s policies and procedures regarding disability

discrimination and family medical leave;

       JUDGMENT is hereby entered for Defendant Woodlands Senior Living of Brewer LLC

and against the Plaintiff Christy Dorr on all remaining claims.



                                                  CHRISTA K. BERRY, CLERK



                                                   /s/Julie W. Rodrigue
                                                   Deputy Clerk

Dated this 10th day of May, 2017.
